                              Case 14-50331-gs        Doc 98     Entered 03/03/16 13:55:20       Page 1 of 7



                          1    Jeffrey L. Hartman, Esq., #1607
                               HARTMAN & HARTMAN
                          2    510 West Plumb Lane, Suite B
                               Reno, Nevada 89509
                          3    Telephone: (775) 324-2800
                               Fax: (775) 324-1818
                          4    notices@bankruptcyreno.com
                          5    Attorney for Jeri Coppa-Knudson, Trustee
                          6
                          7                            UNITED STATES BANKRUPTCY COURT
                          8                                      DISTRICT OF NEVADA
                          9
                        10     IN RE:                                        CASE NO.      BK-N-14-50331-BTB
                                                                             CHAPTER       7
                        11     AT EMERALD,
                        12                 Debtor.
                               _________________________________/
                        13
                        14     JERI COPPA-KNUDSON, TRUSTEE                   Adv. No. ____________
                               FOR THE CHAPTER 7 ESTATE OF AT
                        15     EMERALD, LLC,
                                                                             COMPLAINT
                        16                     Plaintiff,
                        17     vs.
                        18     KENMARK VENTURES, LLC,
                               MILLER MORTON CAILLAT &
                        19     NEVIS LLP,
                        20                     Defendants.
                        21                                               /
                        22              Jeri Coppa-Knudson, chapter 7 trustee for the estate of AT Emerald, LLC, Plaintiff
                        23     in this proceeding, as and for her complaint against Defendants Kenmark Ventures, LLC,
                        24     and Miller, Morton, Caillat & Nevis, LLP, alleges as follows:
                        25
                        26                                           JURISDICTION
                        27              1. This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.
                        28     §§ 1334 and 157(a), and Local Rule 1001(b)(1). Venue is proper in this Court by reason of
    Hartman & Hartman
510 West Plumb Lane, Ste. B
   Reno, Nevada 89509
      (775) 324-2800
                              Case 14-50331-gs       Doc 98     Entered 03/03/16 13:55:20        Page 2 of 7



                          1    28 U.S.C. § 1409.
                          2           2. This is a core matter pursuant to 28 U.S.C. § 157(b)(2)(H).
                          3           3. In accordance with F.R.Bankr.P. 7008 and LR 7008, Plaintiff consents to the
                          4    entry by this Court of a final order or judgment.
                          5                                              PARTIES
                          6           4. Plaintiff is the duly appointed and acting chapter 7 trustee for the estate of AT
                          7    Emerald, LLC (“AT Emerald”). Pursuant to 11 U.S.C. § 323, Plaintiff is the representative
                          8    of the estate and has the capacity to sue and be sued.
                          9           5. Plaintiff is informed and believes and thereon alleges that Kenmark Ventures,
                        10     LLC (“Defendant Kenmark”), is a California limited liability company.
                        11            6. Plaintiff is informed and believes and thereon alleges that Miller, Morton, Caillat
                        12     & Nevis (“Miller Morton”) is a California limited liability partnership.
                        13                                    FACTUAL ALLEGATIONS
                        14            7. On or about October 25, 2007, Electronic Plastics, LLC and Anthony Thomas
                        15     (“Thomas”) executed a secured Demand Note in the amount of $3,000,000 (“Kenmark
                        16     Note”) payable to Defendant Kenmark. The Kenmark Note was executed by Tony Thomas
                        17     as the manager of Electronic Plastics, LLC and in his individual capacity. A copy of the
                        18     Kenmark Note is attached as an Exhibit to Proof of Claim 7-1 filed in the underlying chapter
                        19     7 case by Defendant Kenmark on June 12, 2014. AT Emerald was not named as a Maker
                        20     and the Kenmark Note was not executed by anyone purporting to act on behalf of AT
                        21     Emerald.
                        22            8. On or about October 25, 2007, Anthony Thomas as Maker, executed a Security
                        23     Agreement (“Kenmark Security Agreement”) in favor of Defendant Kenmark. The
                        24     collateral under the Kenmark Security Agreement was purportedly an uncut emerald
                        25     weighing more than 21,000 karats then “in the possession of Shawn Milligan, who is an
                        26     agent of the Secured Party”. The Kenmark Security Agreement was executed by Tony
                        27     Thomas individually as the Maker and by Kenneth S. Tiersini in his capacity as Manager of
                        28     Defendant Kenmark. A copy of the Kenmark Security Agreement is attached as an Exhibit
    Hartman & Hartman
510 West Plumb Lane, Ste. B
   Reno, Nevada 89509
      (775) 324-2800
                                                                              2
                              Case 14-50331-gs       Doc 98     Entered 03/03/16 13:55:20        Page 3 of 7



                          1    to Proof of Claim 7-1 filed in the underlying chapter 7 case by Defendant Kenmark on June
                          2    12, 2014. AT Emerald was not named as a Maker and the Kenmark Security Agreement
                          3    Note was not executed any anyone purporting to act on behalf of AT Emerald.
                          4           9. Subsequently, Electronic Plastics, LLC and Thomas defaulted on the obligation
                          5    represented by the Kenmark Note and Defendant Kenmark filed a civil action against
                          6    Thomas individually in the Superior Court, State Of California, In And For The County Of
                          7    Santa Clara, case 1-08-CV-130677 (“Kenmark Civil Action”). Defendant Kenmark did not
                          8    name AT Emerald as a defendant in the Kenmark Civil Action.
                          9           10. On or about July 20, 2009, Thomas and AT Emerald, LLC (“AT Emerald”) filed
                        10     a cross complaint against Kenmark.
                        11            11. On August 17, 2009, Kenmark filed a cross complaint against AT Emerald for
                        12     declaratory relief. On August 24, 2009, AT Emerald filed an answer to the cross complaint
                        13     filed by Kenmark.
                        14            12. On October 5, 2011, after two days of trial, the parties in the Kenmark Civil
                        15     Action entered into settlement discussions with presiding Judge Leslie Nichols. The terms
                        16     of the resulting settlement agreement (“Settlement Agreement”) were recited in record and
                        17     agreed to by the parties. A copy of the transcript of the proceedings is attached as an exhibit
                        18     to Proof of Claim 7-1 filed in the underlying chapter 7 case by Defendant Kenmark on June
                        19     12, 2014.
                        20            13. Under paragraph three of the Settlement Agreement, Defendants were required
                        21     to pay Defendant Kenmark a total of $5,000,000 with the first installment of $500,000 to be
                        22     paid on or before January 1, 2013.
                        23            14. Under the terms of the Settlement Agreement as recited on the record before
                        24     Judge Nichols, Anthony Thomas purported to bind AT Emerald for an obligation owed by
                        25     him individually and by Electronic Plastics, LLC.
                        26            15. In January 2014, Defendant Kenmark, by and through its legal counsel,
                        27     Defendant Miller, Morton, Caillat & Nevis, prepared a Stipulation For Judgment And
                        28     [Proposed] Judgment (“Stipulation For Judgment”). A copy of the Stipulation For Judgment
    Hartman & Hartman
510 West Plumb Lane, Ste. B
   Reno, Nevada 89509
      (775) 324-2800
                                                                              3
                              Case 14-50331-gs      Doc 98     Entered 03/03/16 13:55:20        Page 4 of 7



                          1    And [Proposed] Judgment is attached as Exhibit E to Proof of Claim 7-1 filed in the
                          2    underlying chapter 7 case by Defendant Kenmark on June 12, 2014.
                          3           16. The Stipulated Judgment recites, inter alia, that :
                          4                  Whereas, the Settlement, among other things, required Defendants Thomas
                                             and Gardner, jointly and severally to pay Kenmark a total of $5,000,000, …
                          5                  and
                          6                  Whereas, the Settlement provides that upon the failure of Defendant’s
                                             Thomas and Gardner to pay any settlement payment , Kenmark may obtain
                          7                  entry of judgment against Defendants Thomas and Gardner, jointly and
                                             severally, on Kenmark’s Fourth Cause of Action for Fraud and Fifth Cause of
                          8                  Action for Fraud, … and
                          9                  Whereas, Defendant Thomas has promised to pay $575,000 toward the
                                             stipulated settlement amount on or before January 30, 2014.
                        10
                        11            17. Kenmark’s Fourth Cause of Action was for Fraud - Intentional
                        12     Misrepresentation against Thomas, Electronic Plastics and Michael Gardiner. Kenmark’s
                        13     Fifth Cause of Action was for Fraud - Misrepresentation and Suppression Of Facts against
                        14     Thomas, Electronic Plastics and Michael Gardiner.
                        15            18. The [Proposed] Stipulated Judgment was executed in January 2014 by Kenneth
                        16     Tiersini as managing member of Defendant Kenmark and by Anthony Thomas individually.
                        17            19. The Stipulated Judgment fails to includes any reference whatsoever to AT
                        18     Emerald.
                        19            20. The Stipulated Judgment was approved by the Superior Court and entered on
                        20     October 8, 2015.
                        21            21. On or about January 18, 2013, John Beach, as trustee of the Beach Living Trust
                        22     (the “Beach Trust”), caused $500,000 to be wired (“Beach Transfer”) to AT Emerald’s
                        23     Wells Fargo Bank account # ******6516 (“Account 6516”).
                        24            22. That same day, January 18, 2013, Anthony Thomas issued check no. 1001 on
                        25     Account 6516 in the amount of $500,000 payable to Defendant Kenmark Ventures, LLC and
                        26     Defendant Miller, Morton, Caillat & Nevis, LLP. Check no. 1001 was subsequently
                        27     deposited into an account owned by Defendant Miller, Morton, Caillat & Nevis, LLP.
                        28     ///
    Hartman & Hartman
510 West Plumb Lane, Ste. B
   Reno, Nevada 89509
      (775) 324-2800
                                                                             4
                              Case 14-50331-gs         Doc 98     Entered 03/03/16 13:55:20        Page 5 of 7



                          1              23. Plaintiff is informed and believes and thereon alleges that AT Emerald did not
                          2    receive, nor did it benefit from, the monies originally loaned by Defendant Kenmark to
                          3    Electronic Plastics, LLC and Anthony Thomas under the terms of the Kenmark Note.
                          4              24. Plaintiff is informed and believes and thereon alleges that there is no enforceable
                          5    judgment against AT Emerald because Kenmark failed to include AT Emerald as a
                          6    judgment debtor in the Stipulated Judgment.
                          7              25. Anthony Thomas and Wendi Thomas filed their individual chapter 11 petition
                          8    on March 4, 2014. The chapter 11 was converted to chapter 7 on August 29, 2014.
                          9              26. AT Emerald filed its chapter 11 petition on March 4, 2014. The chapter 11 case
                        10     was converted to chapter 7 on August 29, 2014.
                        11                                      FIRST CLAIM FOR RELIEF
                        12                                         11 U.S.C. § 548(a)(1)(A)
                        13               27. Plaintiff repeats and realleges paragraphs 1 through 26 as though fully stated
                        14     herein.
                        15               28. Plaintiff is informed and believes and thereon alleges that in January 2013, AT
                        16     Emerald was insolvent.
                        17               29. The Trustee is informed and believes and thereon alleges that the transfer of
                        18     $500,000 to Defendants Kenmark Ventures, LLC, and Miller, Morton, Caillat & Nevis, LLP
                        19     was for the benefit of an insider, Anthony Thomas, and was done with the actual intent to
                        20     hinder, delay and defraud creditors, including the Beach Trust.
                        21                                    SECOND CLAIM FOR RELIEF
                        22                                         11 U.S.C. § 548(a)(1)(B)
                        23               30. Plaintiff repeats and realleges paragraphs 1 through 26 as though fully stated
                        24     herein.
                        25               31. Plaintiff is informed and believes and thereon alleges that in January 2013, AT
                        26     Emerald was insolvent.
                        27               32. The Stipulated Judgment executed in January 2014 by Kenmark’s representative
                        28     Kenneth Tersini recites:
    Hartman & Hartman
510 West Plumb Lane, Ste. B
   Reno, Nevada 89509
      (775) 324-2800
                                                                                5
                              Case 14-50331-gs        Doc 98     Entered 03/03/16 13:55:20        Page 6 of 7



                          1                    If payment of $550,000 is not received by Kenmark on or before January 30,
                                               2014, judgment shall hereby be entered in favor of Plaintiff Kenmark
                          2                    Ventures, LLC against Defendants Anthony Thomas jointly and severally
                                               with Defendant Michael Gardner [sic], on Kenmark’s Fourth Cause of Action
                          3                    for Fraud and Fifth Cause of Action for Fraud in the principal sum of
                                               $4,500,000 (four million five hundred thousand dollars) together with interest
                          4                    in the judgment thereafter at the rate of 10% per annum as provided by law.
                          5             33. The Trustee is informed and believes and thereon alleges that the transfer of
                          6    $500,000 from AT Emerald’s account to Defendants Kenmark Ventures, LLC, and Miller,
                          7    Morton, Caillat & Nevis, LLP, was made for less than a reasonably equivalent value in
                          8    exchange for the transfer.
                          9             34. The Trustee is informed and believes and thereon alleges that AT Emerald
                        10     became insolvent as a result of the transfer of $500,000 to Defendants Kenmark Ventures,
                        11     LLC, and Miller, Morton, Caillat & Nevis, LLP.
                        12              35. The Trustee is informed and believes and thereon alleges that AT Emerald was
                        13     engaged in business for which any property remaining with AT Emerald was an
                        14     unreasonably small capital.
                        15              36. The Trustee is informed and believes and thereon alleges that the transfer of
                        16     $500,000 to Defendants Kenmark Ventures, LLC, and Miller, Morton, Caillat & Nevis, LLP
                        17     was for the benefit of an insider, Anthony Thomas.
                        18                                    THIRD CLAIM FOR RELIEF
                        19                                             11 U.S.C. § 550
                        20              37. Plaintiff repeats and realleges paragraphs 1 through 36 as though fully stated
                        21     herein
                        22              38. If the Court avoids the transfer of $500,000 to Defendants Kenmark Ventures,
                        23     LLC, and Miller, Morton, Caillat & Nevis, LLP she is entitled to recover the $500,000 from
                        24     the Defendants or from any immediate or mediate transferee of Defendants according to
                        25     proof.
                        26     ///
                        27     ///
                        28     ///
    Hartman & Hartman
510 West Plumb Lane, Ste. B
   Reno, Nevada 89509
      (775) 324-2800
                                                                              6
                              Case 14-50331-gs         Doc 98     Entered 03/03/16 13:55:20     Page 7 of 7



                          1               Wherefore, Plaintiff prays for judgment against Defendants Kenmark Ventures,
                          2    LLC, and Miller, Morton, Caillat & Nevis, LLP avoiding the transfer by AT Emerald of
                          3    $500,000 and requiring payment to Plaintiff of $500,000 and such other and further relief as
                          4    is just.
                          5               DATED: March 3, 2016.
                          6                                                  HARTMAN & HARTMAN
                          7
                                                                             /S/ Jeffrey L. Hartman
                          8                                                  Jeffrey L. Hartman, Esq.
                                                                             Attorney for Jeri Coppa-Knudson,
                          9                                                  Trustee
                        10
                        11
                        12
                        13
                        14
                        15
                        16
                        17
                        18
                        19
                        20
                        21
                        22
                        23
                        24
                        25
                        26
                        27
                        28
    Hartman & Hartman
510 West Plumb Lane, Ste. B
   Reno, Nevada 89509
      (775) 324-2800
                                                                              7
